                                                                                                                                              Buccaneer Resources Liquidating Trust
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                                                                                                           Receipts       Filed in TXSB on 10/03/18 Page 1 of 4
                                                                                                                    and Disbursements
                                                                                                                                                        March 2018 through August 2018



                         Type              Date          Num                          Name                                                    Memo                                              Account            Clr                        Split              Debit           Credit       Balance

RECEIPTS:
            Interest Income
                  Deposit               04/30/2018              Merrill Lynch                               April 2018 Interest Income                                             Merrill Lynch 3481              √     Interest Income                             844.17                       844.17
                  Deposit               05/23/2018              Merrill Lynch                               May 2018 Interest Income                                               Merrill Lynch 3481              √     Interest Income                             430.39                      1,274.56
                  Deposit               06/29/2018              Merrill Lynch                               June 2018 Interest Income                                              Merrill Lynch 3481              √     Interest Income                                 0.29                    1,274.85
                  Deposit               07/19/2018              Merrill Lynch                               Deposit                                                                Merrill Lynch 3481              √     Interest Income                                 0.08                    1,274.93
            Total Interest Income                                                                                                                                                                                                                                   1,274.93          0.00       1,274.93


            Other Income


                  Deposit               04/12/2018       Depo   Snow Spence Green LLP                       Deposit                                                                Texas Capital Bank 8111056217   √     Proceeds from Preference Action          25,000.00                    25,000.00
                  Deposit               04/18/2018              McKool Smith                                Deposit                                                                Texas Capital Bank 8111056217   √     Proceeds from D&O Litigation           3,163,491.70                 3,188,491.70
                  Deposit               08/10/2018       Depo   Whitley Penn                                Refund - unused Carmen Eggleston's expert services                     Texas Capital Bank 8111056217   √     Overmont                                 10,000.00                  3,198,491.70
            Total Other Income                                                                                                                                                                                                                                  3,198,491.70          0.00   3,198,491.70


TOTAL RECEIPTS                                                                                                                                                                                                                                                  3,199,766.63          0.00   3,199,766.63


DISBURSEMENTS:
            2nd Revised 1st Interim Distribution
                  General Journal       04/24/2018       7                                                  Clear out uncleared cks from 7/17 distribution (See 3/18 bank recon)   Texas Capital Bank 8111056217   √     62505 · 2nd Revised 1st Interim Dist       2,573.89                     2,573.89
            Total 2nd Revised 1st Interim Distribution                                                                                                                                                                                                              2,573.89          0.00       2,573.89


            Final Distribution
                  Check                 05/25/2018       1785   Advance Hydrocarbon Corporation                                                                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  35.87         -35.87
                  Check                 05/25/2018       1786   AFLAC                                                                                                              Texas Capital Bank 8111056217   √     62506 · Final Distribution                                 135.11        -170.98
                  Check                 05/25/2018       1787   AIMM Technologies, Inc.                                                                                            Texas Capital Bank 8111056217   √     62506 · Final Distribution                              24,606.48     -24,777.46
                  Check                 05/25/2018       1788   Air Liquide America LP                                                                                             Texas Capital Bank 8111056217   √     62506 · Final Distribution                                 487.35     -25,264.81
                  Check                 05/25/2018       1789   Airgas USA LLC                                                                                                     Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  48.94     -25,313.75
                  Check                 05/25/2018       1790   Airport Equipment Rental, Inc.                                                                                     Texas Capital Bank 8111056217   √     62506 · Final Distribution                               4,024.65     -29,338.40
                  Check                 05/25/2018       1791   Alaska Communications                                                                                              Texas Capital Bank 8111056217   √     62506 · Final Distribution                                 224.63     -29,563.03
                  Check                 05/25/2018       1792   Alaska Rubber and Supply, Inc.                                                                                     Texas Capital Bank 8111056217   √     62506 · Final Distribution                                 480.43     -30,043.46
                  Check                 05/25/2018       1793   Alaska Waste                                                                                                       Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  59.50     -30,102.96
                  Check                 05/25/2018       1794   Alyeska Sales & Service                                                                                            Texas Capital Bank 8111056217   √     62506 · Final Distribution                                 344.06     -30,447.02
                  Check                 05/25/2018       1795   Applied Standards Inspection, Inc.                                                                                 Texas Capital Bank 8111056217   √     62506 · Final Distribution                               2,460.32     -32,907.34
                  Check                 05/25/2018       1796   Archer Drilling LLC                                                                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution                             616,363.56    -649,270.90
                  Check                 05/25/2018       1798   Arctic Wire Rope and Supply                                                                                        Texas Capital Bank 8111056217   √     62506 · Final Distribution                                 171.11    -649,442.01
                  Check                 05/25/2018       1799   ASRC Energy Services                                                                                               Texas Capital Bank 8111056217   √     62506 · Final Distribution                               1,455.96    -650,897.97
                  Check                 05/25/2018       1800   AT&T Mobility                                                                                                      Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  41.17    -650,939.14
                  Check                 05/25/2018       1801   Atigun Incorporated                                                                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution                                 887.56    -651,826.70
                  Check                 05/25/2018       1802   Bang Energy LLC                                                                                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution                                 205.34    -652,032.04
                  Check                 05/25/2018       1803   Bernstein, Scott P.                                                                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution                              24,564.14    -676,596.18
                  Check                 05/25/2018       1804   Best Western Bidarka Inn                                                                                           Texas Capital Bank 8111056217   √     62506 · Final Distribution                                 698.92    -677,295.10
                  Check                 05/25/2018       1805   Big G Electric & Engineering, Inc.                                                                                 Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  32.67    -677,327.77
                  Check                 05/25/2018       1806   B-Pack, Inc.                                                                                                       Texas Capital Bank 8111056217         62506 · Final Distribution                                 194.77    -677,522.54
                  Check                 05/25/2018       1807   Brice Equipment, LLC - 003                                                                                         Texas Capital Bank 8111056217   √     62506 · Final Distribution                               3,317.68    -680,840.22
                  Check                 05/25/2018       1808   Bud Griffin Customer Support                                                                                       Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  26.32    -680,866.54
                  Check                 05/25/2018       1809   CAD Control Systems                                                                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution                               1,396.07    -682,262.61
                  Check                 05/25/2018       1810   Canaccord Genuity Australia Limited                                                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution                              18,895.07    -701,157.68
                  Check                 05/25/2018       1811   Canrig Drilling Technology Ltd.                                                                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution                               8,732.97    -709,890.65
                  Check                 05/25/2018       1812   Clarion Events LTD                                                                                                 Texas Capital Bank 8111056217         62506 · Final Distribution                                 690.33    -710,580.98
                  Check                 05/25/2018       1813   Coffman Engineers                                                                                                  Texas Capital Bank 8111056217   √     62506 · Final Distribution                               1,436.07    -712,017.05
                  Check                 05/25/2018       1814   Computershare Registry Services Pty Ltd                                                                            Texas Capital Bank 8111056217   √     62506 · Final Distribution                                 924.56    -712,941.61
                  Check                 05/25/2018       1815   Conam Construction Company                                                                                         Texas Capital Bank 8111056217   √     62506 · Final Distribution                               3,287.72    -716,229.33
                  Check                 05/25/2018       1817   Cook Inlet Energy, LLC                                                                                             Texas Capital Bank 8111056217   √     62506 · Final Distribution                              25,966.99    -742,196.32
                  Check                 05/25/2018       1818   Cook Inlet Regional Citizens Advisory Cou                                                                          Texas Capital Bank 8111056217   √     62506 · Final Distribution                               3,081.82    -745,278.14
                  Check                 05/25/2018       1819   Crowell & Moring LLP                                                                                               Texas Capital Bank 8111056217   √     62506 · Final Distribution                              29,675.51    -774,953.65
                  Check                 05/25/2018       1820   Darrel J. Gardner (joint and several co-c                                                                          Texas Capital Bank 8111056217   √     62506 · Final Distribution                               3,381.62    -778,335.27
                  Check                 05/25/2018       1821   Dish Network LLC                                                                                                   Texas Capital Bank 8111056217         62506 · Final Distribution                                  65.57    -778,400.84
                  Check                 05/25/2018       1822   Edison, McDowell & Hetherington LLP                                                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution                               1,093.80    -779,494.64
                  Check                 05/25/2018       1823   Edward Ramirez                                                                                                     Texas Capital Bank 8111056217   √     62506 · Final Distribution                              17,162.99    -796,657.63
                  Check                 05/25/2018       1824   ERA Helicopters LLC                                                                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution                               1,863.22    -798,520.85




EXHIBIT A                                                                                                                                                                                                                                                                                                   Page 1 of 4
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                                                                                                 March 2018 through August 2018



                Type     Date       Num                             Name                  Memo                                      Account             Clr                        Split   Debit    Credit        Balance

            Check      05/25/2018   1825   Fagredin, Farouk                                                             Texas Capital Bank 8111056217   √     62506 · Final Distribution             3,654.42    -802,175.27
            Check      05/25/2018   1826   Ferguson Enterprises, Inc.                                                   Texas Capital Bank 8111056217   √     62506 · Final Distribution               402.53    -802,577.80
            Check      05/25/2018   1827   Fire Control Systems, Inc.                                                   Texas Capital Bank 8111056217   √     62506 · Final Distribution               427.34    -803,005.14
            Check      05/25/2018   1828   Frank's Casing Crew and Rental Tools, Inc                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution            96,554.47    -899,559.61
            Check      05/25/2018   1829   David Fulton                                                                 Texas Capital Bank 8111056217   √     62506 · Final Distribution               205.34    -899,764.95
            Check      05/25/2018   1830   GE Capital C/O Barbi Martin                                                  Texas Capital Bank 8111056217   √     62506 · Final Distribution             2,229.09    -901,994.04
            Check      05/25/2018   1832   GeoCenter LP                                                                 Texas Capital Bank 8111056217   √     62506 · Final Distribution               350.66    -902,344.70
            Check      05/25/2018   1833   Geomap Company                                                               Texas Capital Bank 8111056217   √     62506 · Final Distribution                38.25    -902,382.95
            Check      05/25/2018   1834   Grainger                                                                     Texas Capital Bank 8111056217   √     62506 · Final Distribution                46.39    -902,429.34
            Check      05/25/2018   1835   Gulfstream Legal Group LLC                                                   Texas Capital Bank 8111056217   √     62506 · Final Distribution                93.20    -902,522.54
            Check      05/25/2018   1836   Hartman Income REIT Property Holdings, LL                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution            33,458.46    -935,981.00
            Check      05/25/2018   1837   Hilcorp Alaska, LLC                                                          Texas Capital Bank 8111056217   √     62506 · Final Distribution             9,271.14    -945,252.14
            Check      05/25/2018   1838   Hole Opener Corporation                                                      Texas Capital Bank 8111056217   √     62506 · Final Distribution             1,105.74    -946,357.88
            Check      05/25/2018   1839   Homer Electric Association                                                   Texas Capital Bank 8111056217   √     62506 · Final Distribution             1,833.14    -948,191.02
            Check      05/25/2018   1840   Hopper Engineering Associates                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution               947.56    -949,138.58
            Check      05/25/2018   1841   IHS GLOBAL INC.                                                              Texas Capital Bank 8111056217   √     62506 · Final Distribution             1,132.22    -950,270.80
            Check      05/25/2018   1842   Iliamna Air Taxi, Inc.                                                       Texas Capital Bank 8111056217   √     62506 · Final Distribution               132.52    -950,403.32
            Check      05/25/2018   1843   Industrial Instrument Services, Inc                                          Texas Capital Bank 8111056217   √     62506 · Final Distribution               276.86    -950,680.18
            Check      05/25/2018   1844   Internal Revenue Service                                                     Texas Capital Bank 8111056217   √     62506 · Final Distribution               848.59    -951,528.77
            Check      05/25/2018   1845   JMR Capital Advisors                                                         Texas Capital Bank 8111056217   √     62506 · Final Distribution            21,418.63    -972,947.40
            Check      05/25/2018   1846   JMR Worldwide                                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution             4,853.86    -977,801.26
            Check      05/25/2018   1847   Konica Minolta Business Solutions USA Inc                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution                98.85    -977,900.11
            Check      05/25/2018   1848   Legislative Consultants In Alaska                                            Texas Capital Bank 8111056217   √     62506 · Final Distribution             2,054.55    -979,954.66
            Check      05/25/2018   1849   Logix Communications                                                         Texas Capital Bank 8111056217   √     62506 · Final Distribution               141.25    -980,095.91
            Check      05/25/2018   1850   Loomis, Richard R.                                                           Texas Capital Bank 8111056217   √     62506 · Final Distribution            12,047.85    -992,143.76
            Check      05/25/2018   1851   MacGregor USA, Inc.                                                          Texas Capital Bank 8111056217   √     62506 · Final Distribution                77.79    -992,221.55
            Check      05/25/2018   1852   MagTec Alaska, LLC                                                           Texas Capital Bank 8111056217   √     62506 · Final Distribution            16,673.47   -1,008,895.02
            Check      05/25/2018   1853   Mapmakers Alaska                                                             Texas Capital Bank 8111056217         62506 · Final Distribution               575.27   -1,009,470.29
            Check      05/25/2018   1854   Maritime Helicopters, Inc.                                                   Texas Capital Bank 8111056217   √     62506 · Final Distribution             1,531.15   -1,011,001.44
            Check      05/25/2018   1855   Marlin Business Bank                                                         Texas Capital Bank 8111056217   √     62506 · Final Distribution             2,606.88   -1,013,608.32
            Check      05/25/2018   1856   Metson Blue Water Navigation, LLC                                            Texas Capital Bank 8111056217   √     62506 · Final Distribution             1,523.32   -1,015,131.64
            Check      05/25/2018   1857   M-I LLC                                                                      Texas Capital Bank 8111056217   √     62506 · Final Distribution                86.08   -1,015,217.72
            Check      05/25/2018   1858   Moller, Brian                                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution             2,080.44   -1,017,298.16
            Check      05/25/2018   1859   Moore & Moore Services, Inc.                                                 Texas Capital Bank 8111056217   √     62506 · Final Distribution               564.79   -1,017,862.95
            Check      05/25/2018   1860   Moore, Craig                                                                 Texas Capital Bank 8111056217   √     62506 · Final Distribution               295.69   -1,018,158.64
            Check      05/25/2018   1861   Morgan Steel Inc                                                             Texas Capital Bank 8111056217   √     62506 · Final Distribution               709.71   -1,018,868.35
            Check      05/25/2018   1862   National Oilwell Varco                                                       Texas Capital Bank 8111056217   √     62506 · Final Distribution                76.35   -1,018,944.70
            Check      05/25/2018   1863   Northern Consulting Group                                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution               459.40   -1,019,404.10
            Check      05/25/2018   1864   NOV Tuboscope                                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution             4,107.48   -1,023,511.58
            Check      05/25/2018   1865   O'Brien's Response Management                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution               172.58   -1,023,684.16
            Check      05/25/2018   1866   Jeffries Leverage Credit Products (Tsfr f                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution            52,352.12   -1,076,036.28
            Check      05/25/2018   1867   Odin Advisors, LLC                                                           Texas Capital Bank 8111056217   √     62506 · Final Distribution           106,836.35   -1,182,872.63
            Check      05/25/2018   1868   Pacific Pile & Marine, L.P.                                                  Texas Capital Bank 8111056217   √     62506 · Final Distribution            16,025.45   -1,198,898.08
            Check      05/25/2018   1869   Pason Offshore Corp                                                          Texas Capital Bank 8111056217         62506 · Final Distribution             3,559.45   -1,202,457.53
            Check      05/25/2018   1870   Paul Hastings LLP                                                            Texas Capital Bank 8111056217   √     62506 · Final Distribution             6,078.15   -1,208,535.68
            Check      05/25/2018   1871   PCNET Communications, Inc                                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution               741.49   -1,209,277.17
            Check      05/25/2018   1872   Peninsula Pumping, Inc.                                                      Texas Capital Bank 8111056217         62506 · Final Distribution                57.41   -1,209,334.58
            Check      05/25/2018   1873   Petroleum Equipment & Services, Inc.                                         Texas Capital Bank 8111056217   √     62506 · Final Distribution             6,011.90   -1,215,346.48
            Check      05/25/2018   1874   Phoenix Safety & Logistics Personnel Inc                                     Texas Capital Bank 8111056217   √     62506 · Final Distribution             2,358.37   -1,217,704.85
            Check      05/25/2018   1875   Pitney Bowes                                                                 Texas Capital Bank 8111056217   √     62506 · Final Distribution                83.84   -1,217,788.69
            Check      05/25/2018   1876   PJK Trucking                                                                 Texas Capital Bank 8111056217   √     62506 · Final Distribution             1,010.84   -1,218,799.53
            Check      05/25/2018   1877   Pollard E-Line Service, Inc.                                                 Texas Capital Bank 8111056217   √     62506 · Final Distribution             1,006.24   -1,219,805.77
            Check      05/25/2018   1878   Port Graham Corporation                                                      Texas Capital Bank 8111056217   √     62506 · Final Distribution             9,868.23   -1,229,674.00
            Check      05/25/2018   1879   Progressive Global Energy                                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution             1,297.96   -1,230,971.96
            Check      05/25/2018   1880   Rain for Rent Alaska                                                         Texas Capital Bank 8111056217   √     62506 · Final Distribution             2,947.33   -1,233,919.29
            Check      05/25/2018   1881   Ralph E. Davis Associates, Inc.                                              Texas Capital Bank 8111056217   √     62506 · Final Distribution             2,729.50   -1,236,648.79
            Check      05/25/2018   1882   Safway Services LLC                                                          Texas Capital Bank 8111056217   √     62506 · Final Distribution             4,680.91   -1,241,329.70
            Check      05/25/2018   1883   ScoNet Int.                                                                  Texas Capital Bank 8111056217   √     62506 · Final Distribution               817.30   -1,242,147.00
            Check      05/25/2018   1884   Seismic Exchange, Inc.                                                       Texas Capital Bank 8111056217   √     62506 · Final Distribution             4,217.28   -1,246,364.28
            Check      05/25/2018   1885   Sheek Offshore Services                                                      Texas Capital Bank 8111056217   √     62506 · Final Distribution               450.62   -1,246,814.90
            Check      05/25/2018   1913   SLP Alaska                                                                   Texas Capital Bank 8111056217         62506 · Final Distribution                48.10   -1,246,863.00




EXHIBIT A                                                                                                                                                                                                                       Page 2 of 4
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                         Type            Date       Num                            Name                                                  Memo                                               Account             Clr                        Split               Debit            Credit         Balance

                    Check              05/25/2018   1914   SolstenXP Inc.                                                                                                       Texas Capital Bank 8111056217   √     62506 · Final Distribution                                   288.22    -1,247,151.22
                    Check              05/25/2018   1915   Starichkof Enterprises                                                                                               Texas Capital Bank 8111056217   √     62506 · Final Distribution                                   122.25    -1,247,273.47
                    Check              05/25/2018   1916   State of Alaska - Department of Environme                                                                            Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  2,892.47   -1,250,165.94
                    Check              05/25/2018   1917   State of Alaska - Dept of Environmental C                                                                            Texas Capital Bank 8111056217   √     62506 · Final Distribution                                   121.63    -1,250,287.57
                    Check              05/25/2018   1918   Stellar Oil & Gas, LLC                                                                                               Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  1,576.28   -1,251,863.85
                    Check              05/25/2018   1919   Steven M. Wells, P.C. (joint and several                                                                             Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  2,434.77   -1,254,298.62
                    Check              05/25/2018   1920   Strong Energy Resources LLC                                                                                          Texas Capital Bank 8111056217   √     62506 · Final Distribution                                   958.26    -1,255,256.88
                    Check              05/25/2018   1921   Terrasond Precision Geospatial Solutions                                                                             Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  1,474.23   -1,256,731.11
                    Check              05/25/2018   1922   Terratek, Inc.                                                                                                       Texas Capital Bank 8111056217   √     62506 · Final Distribution                                   162.72    -1,256,893.83
                    Check              05/25/2018   1923   Tesoro                                                                                                               Texas Capital Bank 8111056217   √     62506 · Final Distribution                                    66.04    -1,256,959.87
                    Check              05/25/2018   1924   Time Warner Cable                                                                                                    Texas Capital Bank 8111056217         62506 · Final Distribution                                   123.76    -1,257,083.63
                    Check              05/25/2018   1925   Total Safety US Inc.                                                                                                 Texas Capital Bank 8111056217   √     62506 · Final Distribution                                   868.76    -1,257,952.39
                    Check              05/25/2018   1899   United Rentals North America Inc.                                                                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution                                   408.15    -1,258,360.54
                    Check              05/25/2018   1900   Velocis Echo LP                                                                                                      Texas Capital Bank 8111056217   √     62506 · Final Distribution                                    45.53    -1,258,406.07
                    Check              05/25/2018   1901   Victory Park Management, LLC                                                                                         Texas Capital Bank 8111056217   √     62506 · Final Distribution                                    84.47    -1,258,490.54
                    Check              05/25/2018   1902   Vigor Alaska LLC                                                                                                     Texas Capital Bank 8111056217   √     62506 · Final Distribution                                    35.61    -1,258,526.15
                    Check              05/25/2018   1904   Weatherford US LP                                                                                                    Texas Capital Bank 8111056217   √     62506 · Final Distribution                                13,422.51    -1,271,948.66
                    Check              05/25/2018   1905   Wex Bank                                                                                                             Texas Capital Bank 8111056217   √     62506 · Final Distribution                                    66.04    -1,272,014.70
                    Check              05/25/2018   1906   Willis of Texas, Inc.                                                                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  1,682.75   -1,273,697.45
                    Check              05/25/2018   1907   Windy Bay Services, LLC.                                                                                             Texas Capital Bank 8111056217   √     62506 · Final Distribution                                15,121.45    -1,288,818.90
                    Check              05/25/2018   1908   Xpress Business Products, Inc.                                                                                       Texas Capital Bank 8111056217   √     62506 · Final Distribution                                    32.43    -1,288,851.33
                    Check              05/25/2018   1909   XTO Energy, Inc.                                                                                                     Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  7,344.77   -1,296,196.10
                    Check              05/25/2018   1910   Zentech Incorporated                                                                                                 Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  1,013.22   -1,297,209.32
                    Check              05/25/2018   1911   Haynes & Boone LLP                          Gavin Wilson Distribution                                                Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  1,628.22   -1,298,837.54
                    Check              05/25/2018   1912   Baker Botts LLP (Dist)                      Patrick O'Connor and Alan Stein Distributions                            Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  5,177.29   -1,304,014.83
                    Check              05/29/2018   WT     Teras Oilfield Support, Ltd. (Tsfr from A   $230,117.50 Distribution less $22.50 Wire Fee                            Texas Capital Bank 8111056217   √     62506 · Final Distribution                               230,095.00    -1,534,109.83
                    Check              05/29/2018   WT     Chrystal Capital Partners LLP               $218,420.43 distribution less $22.50 wire fee                            Texas Capital Bank 8111056217   √     62506 · Final Distribution                               218,397.93    -1,752,507.76
                    Check              05/29/2018   WT     Gallegos, Dean                              $59,144.18 Distribution less $22.50 Wire Fee                             Texas Capital Bank 8111056217   √     62506 · Final Distribution                                59,121.68    -1,811,629.44
                    Check              05/29/2018   WT     Kenai Offshore Ventures, LLC                $1,561,454.36 Distribution less $22.50 Wire Fee                          Texas Capital Bank 8111056217   √     62506 · Final Distribution                              1,561,431.86   -3,373,061.30
                                                                                                       Re-issuance of check 1903 Made payable to: Warrior Rig Technologies US
                    Check              06/25/2018   1932   Warrior Rig Limited Partnership             LLC and Warrior Rig Limit...                                             Texas Capital Bank 8111056217   √     62506 · Final Distribution                                  1,051.25   -3,374,112.55
                    Check              08/14/2018   1941   Archer Survey & Inspection LLC              Reissued Ck 1797 Written 5.25.18                                         Texas Capital Bank 8111056217   √     62506 · Final Distribution                                41,090.90    -3,415,203.45
                    Check              08/15/2018   1943   General Communications Inc                  Reissued from Ck 1831 5.25.18                                            Texas Capital Bank 8111056217   √     62506 · Final Distribution                                10,271.91    -3,425,475.36
                    Check              08/16/2018   WT     ConocoPhillips Company                      $164363.62 distribution less $22.50 Wire Fee                             Texas Capital Bank 8111056217   √     62506 · Final Distribution                               164,341.12    -3,589,816.48
            Total Final Distribution                                                                                                                                                                                                                                   0.00   3,589,816.48   -3,589,816.48


            Other
                    Check              03/01/2018   1774   Locke Lord LLP                              Invoice 1392705                                                          Texas Capital Bank 8111056217   √     LL                                                           100.00         -100.00
                    Check              03/01/2018   1775   Safesite, Inc.                              Invoice SH-112605                                                        Texas Capital Bank 8111056217   √     68000 · Storage Fees                                         164.50         -264.50
                    Check              03/16/2018   WT     IRS                                                                                                                  Texas Capital Bank 8111056217   √     68051 · Tax - Federal                                        192.88         -457.38
                    Check              03/21/2018   1776   Safesite, Inc.                              Invoice SH-11590                                                         Texas Capital Bank 8111056217   √     68000 · Storage Fees                                         164.50         -621.88
                    Check              03/21/2018   1777   Epiq Bankruptcy Solutions                   Feb 2018 Invoice 90233909                                                Texas Capital Bank 8111056217   √     61700 · Computer and Internet Expenses                       688.10        -1,309.98
                    Check              03/21/2018   1778   Compton & Wendler, P.C.                     Invoice 45556 3/6/18                                                     Texas Capital Bank 8111056217   √     CWPC                                                      12,500.00      -13,809.98
                    Check              04/12/2018   1779   Compton & Wendler, P.C.                     Invoice 45616                                                            Texas Capital Bank 8111056217   √     CWPC                                                      12,521.52      -26,331.50
                    Check              04/24/2018   1780   Locke Lord LLP                              Invoice 1404992                                                          Texas Capital Bank 8111056217   √     LL                                                          2,000.00     -28,331.50
                    Check              04/24/2018   1781   U.S. Trustee Payment Center                 Acct 416-14-60041                                                        Texas Capital Bank 8111056217   √     68500 · U.S. Trustee Fees                                    650.00      -28,981.50
                    Check              05/04/2018   1782   Safesite, Inc.                              Invoices SH-114593 & SH-113583                                           Texas Capital Bank 8111056217   √     68000 · Storage Fees                                         329.00      -29,310.50
                    Check              05/09/2018   1783   Compton & Wendler, P.C.                     Invoice 45998                                                            Texas Capital Bank 8111056217   √     CWPC                                                      12,500.00      -41,810.50
                    Check              05/10/2018   1784   Document Technologies, LLC                  Invoice 1063502 & 1070249                                                Texas Capital Bank 8111056217   √     -SPLIT-                                                   19,870.86      -61,681.36
                    Check              05/29/2018   WT     Texas Capital Bank                          Wire Transfer Fee - Chrystal Capital Partners                            Texas Capital Bank 8111056217   √     60400 · Bank Service Charges                                  22.50      -61,703.86
                    Check              05/29/2018   WT     Texas Capital Bank                          Wire Transfer Fee - Teras Oilfield Support                               Texas Capital Bank 8111056217   √     60400 · Bank Service Charges                                  22.50      -61,726.36
                    Check              05/29/2018   WT     Texas Capital Bank                          Wire Transfer Fee - Dean Gallegos                                        Texas Capital Bank 8111056217   √     60400 · Bank Service Charges                                  22.50      -61,748.86
                    Check              05/29/2018   WT     Texas Capital Bank                          Wire Transfer Fee - Kenai Offshore Ventures                              Texas Capital Bank 8111056217   √     60400 · Bank Service Charges                                  22.50      -61,771.36
                    Check              05/29/2018   1926   Locke Lord LLP                              Invoice 1412073                                                          Texas Capital Bank 8111056217   √     LL                                                           700.00      -62,471.36
                    Check              05/30/2018          IRS                                         Form 945                                                                 Texas Capital Bank 8111056217   √     68050 · Tax - Backup Withholding                            4,524.40     -66,995.76
                    Check              05/30/2018          IRS                                         Form 1042                                                                Texas Capital Bank 8111056217   √     68050 · Tax - Backup Withholding                            2,664.31     -69,660.07
                    Check              06/04/2018   WT     Snow Spence Green LLP                       KOV/Teras Settlement                                                     Texas Capital Bank 8111056217   √     SSG                                                      215,235.29     -284,895.36
                    Deposit            06/05/2018          Texas Capital Bank                          Refund of Wire Fees                                                      Texas Capital Bank 8111056217   √     60400 · Bank Service Charges                 90.00                      -284,805.36
                    Check              06/06/2018   1927   Safesite, Inc.                              Invoice SH-115594                                                        Texas Capital Bank 8111056217   √     68000 · Storage Fees                                         164.50     -284,969.86
                    Check              06/20/2018   1929   Compton & Wendler, P.C.                     Invoice 46269                                                            Texas Capital Bank 8111056217   √     CWPC                                                      12,500.00     -297,469.86
                    Check              06/21/2018   1930   Locke Lord LLP                              Invoice 1418695                                                          Texas Capital Bank 8111056217   √     LL                                                          1,935.78    -299,405.64




EXHIBIT A                                                                                                                                                                                                                                                                                                    Page 3 of 4
                                                                                                                            Buccaneer Resources Liquidating Trust
                                                                             Case 14-60041 Document 1026-1
                                                                                                  Receipts       Filed in TXSB on 10/03/18 Page 4 of 4
                                                                                                           and Disbursements
                                                                                                                                 March 2018 through August 2018



                          Type        Date       Num                         Name                                       Memo                                        Account             Clr                      Split                 Debit          Credit         Balance

                  Check             07/02/2018   1934   Safesite, Inc.                                                                                  Texas Capital Bank 8111056217   √     68000 · Storage Fees                                       164.50     -299,570.14
                  Check             07/13/2018   1935   Compton & Wendler, P.C.                                                                         Texas Capital Bank 8111056217   √     CWPC                                                    12,500.00     -312,070.14
                  Check             07/17/2018   1936   U.S. Trustee Payment Center    416-14-60041                                                     Texas Capital Bank 8111056217   √     68500 · U.S. Trustee Fees                               10,400.00     -322,470.14
                  Check             07/17/2018   1937   Epiq Bankruptcy Solutions      40008193                                                         Texas Capital Bank 8111056217   √     -SPLIT-                                                   2,946.17    -325,416.31
                  Bill Pmt -Check   07/20/2018   1938   Locke Lord LLP                                                                                  Texas Capital Bank 8111056217   √     20000 · Accounts Payable                                  1,208.56    -326,624.87
                  Bill Pmt -Check   07/20/2018   1939   McKool Smith                                                                                    Texas Capital Bank 8111056217   √     20000 · Accounts Payable                                  1,812.50    -328,437.37
                  Check             08/10/2018   1940   Safesite, Inc.                 Invoice SH-117599                                                Texas Capital Bank 8111056217   √     68000 · Storage Fees                                       164.50     -328,601.87
                  Check             08/14/2018   1942   Epiq Bankruptcy Solutions      Invoice 90254957 July 2018                                       Texas Capital Bank 8111056217   √     61700 · Computer and Internet Expenses                     632.90     -329,234.77
                  Check             08/15/2018   1944   Compton & Wendler, P.C.        Invoice 46436                                                    Texas Capital Bank 8111056217   √     CWPC                                                    12,500.00     -341,734.77
                  Check             08/16/2018   WT     Texas Capital Bank             Wire Transfer Fee - ConocoPhillips                               Texas Capital Bank 8111056217         60400 · Bank Service Charges                                22.50     -341,757.27
                  Check             08/23/2018   1945   Locke Lord LLP                 Invoice 1432416                                                  Texas Capital Bank 8111056217   √     LL                                                         100.00     -341,857.27
            Total Other                                                                                                                                                                                                                    90.00     341,947.27     -341,857.27
TOTAL DISBURSEMENTS                                                                                                                                                                                                                      2,663.89   3,931,763.75   -3,929,099.86




EXHIBIT A                                                                                                                                                                                                                                                                          Page 4 of 4
